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IN THE UNITED STATES DISTRICT;F~(;,DK .R :
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v.
ANDRE WEBB, et al.,

Del`endant.

 

ORI)ER

Upon consideration of the Govemment’s .Motion to Exclude Time Pursuant to the Speedy
Trial Act, the Court finds as follows:

The Court hereby excludes from the computation of time under the Speedy Trial Act the
period from the date of October 23, 2018 through lFebruary l, 2019. The Court finds that, pursuant
to Title 18, United States Code, Section 31619(h)(7), that the interests of justice will be served by
continuing the trial date beyond the speedy trial date and that the ends of justice served by such a
delay in the trial outweigh the interests of the public and the defendants in a speedy trial, in that:

A. the failure to grant this request in this proceeding would be likely to result in a
miscarriage of j ustice;

.B. this case involves some complex issues and this it would be unreasonable to expect
adequate preparation for pretrial proceedings or the trial itself within the time limits
established by the Speedy Trial Act;

C. the failure to set trial beyond the speedy trial date in this proceeding would deny
counsel for the defendants and the attorney for the Government the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence;

and

 

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D, it would be in the interest of justice to allow additional time for the parties to pursue

plea negotiations
THEREFORE, IT IS H.EREBY ORD.ERED that the period from October 23, 2018 through
`February l, 2019, shall be excluded from the computation under the Speedy Trial Act. The Clerk

of the Court shall mail a copy of this Order to all counsel of record.

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lDate The Honorable Ellen L. Hollander
United States District Judge
District of Maryland

